     Case: 1:17-cv-01171 Document #: 53 Filed: 12/14/18 Page 1 of 8 PageID #:277




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


 Flava Works, Inc.,                         )
                                            )
                  Plaintiffs,               )
                                            )
              v.                            )
                                            )                 Case No. 1:17-cv-01171
 Marques Rondale Gunter                     )                 Judge Robert W. Gettleman
 d/b/a myVidster.com, SalsaIndy, LLC, d/b/a )
 myVidster.com,                             )
                                            )
                  Defendants.


              DEFENDANTS’ STATEMENT OF UNDISPUTED MATERIAL FACTS
                  IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT

        Defendants, Marques Rondale Gunter and SalsaIndy, LLC, both d/b/a myVidster.com

(collectively “Defendants” or “myVidster”), by and through their attorneys, Neal, Gerber &

Eisenberg LLP, hereby submit this Statement of Material Fact in support of their Motion for

Summary Judgment pursuant to Local Rule 56.1(a)(3).

                           Plaintiff Has Shown No Evidence of Breach

        1.       Plaintiff produced 785 pages of documents falling into three categories: (1) DMCA

Notices to myVidster; (2) Unauthenticated screenshots purportedly taken from the myVidster

website; and (3) Copyright registrations for various works allegedly owned by Flava Works, Inc.

Id. at ¶ 8.

        2.       Paragraph 1 of the Settlement Agreement provides:

               [Paragraph 1] API Tool. Within thirty (30) days of the Effective Date,
        Defendants will provide Webmasters (as defined herein) access to a back-end
        application program interface (API) tool on the myVidster.com website that
        allows Webmasters to see the source of infringing content and directly remove
        links to infringing content appearing on the website; provided that, each
        Webmaster must first authentic itself and request access from myVidster.com
    Case: 1:17-cv-01171 Document #: 53 Filed: 12/14/18 Page 2 of 8 PageID #:277




         to this API. A “Webmaster” is any person or company that owns and operates a
         website. Defendants will ensure that when a Webmaster removes a link to
         infringing content appearing on the myVidster.com website, the entire post or
         page associated with that link will also be removed thereby preventing the public
         from accessing the page or post containing the infringing material on the
         myVidster.com website, including posts or comments relating to the infringing
         material on the myVidster.com website. Subject to the terms herein, Defendants
         will provide notification on the myVidster.com website of the availability of this
         API tool.

         (Compl. Exhibit A at ¶ 1.)

         3.     None of Plaintiff’s documents show (i) a DMCA notice sent with respect to a

particular link to an allegedly infringing video, and (ii) evidence that the link subsequently

remained on the myVidster website.

         4.     There is no evidence that myVidster breached Paragraph 1 of the Settlement

Agreement.

         5.     It would be unfeasible from a technical standpoint to provide Plaintiff with a tool

that enables Plaintiff to instantaneously remove links to allegedly infringing videos, as it would

create a significant burden on the myVidster servers and risk crashing the website.

         6.     The API tool provided by myVidster allows Plaintiff to remove links directly,

without any required intervening steps such as submission of a DMCA notice or any human action

by myVidster. All links reported by Plaintiff are placed in an automated queue and are removed

automatically during a period of low server traffic, typically in the early-morning hours, on a daily

basis.

         7.     Paragraph 2 of the Settlement Agreement provides:

                 [Paragraph 2] Termination of Accounts. Within thirty (30) days of the
         Effective Date, Defendants will adopt a policy, wherein if Defendants are advised
         by Plaintiff that a myVidster user is the Original Poster (as defined herein) of a
         link on myVidster.com to an allegedly infringing Flava Works video, Defendants
         will send that user a notice. If Defendants are advised by Plaintiff on three separate
         occasions that a myVidster user is the Original Poster (as defined herein) of a link
         on myVidster.com to an allegedly infringing Flava Works video (i.e., after that

                                                   2
     Case: 1:17-cv-01171 Document #: 53 Filed: 12/14/18 Page 3 of 8 PageID #:277




        user has received two notices from myVidster), that user will be considered in
        violation of myVidster’s terms and conditions and Defendants will disable his/her
        account, including any infringing materials posted by that user. An “Original
        Poster” is the user that initially linked the content at issue to myVidster.com and
        who is, therefore, responsible for first introducing the link at issue to the
        myVidster.com ecosystem. To be clear, an Original Poster is not a user that is
        merely linking to a link already present on myVidster.com. To facilitate
        identification of Original Posters, feature to the myVidster.com website that
        displays the username of the Original Poster beneath the name of each video on
        myVidster.com (e.g., a caption in the form of “Originally collected by [USER
        NAME)”).

        (Compl. Exhibit A at ¶ 2).


        8.      In other words, Paragraph 2 of the Settlement Agreement requires myVidster to

disable an individual user’s account and any infringing content posted by that user only if three

criteria were met: (1) Plaintiff was required to provide the username of the person who posted the

allegedly infringing Flava video content; (2) that user had to be the Original Poster of the allegedly

infringing Flava content; and (3) Plaintiff was required to provide the Original Poster’s username

to myVidster on three separate occasions, or at least three times.

        9.      Of the allegedly offending usernames that Plaintiff reported to myVidster, only

three users were Original Posters of content.

        10.     Plaintiff, however, only reported those usernames one time to myVidster.

        11.     Plaintiff’s production also shows that when a username posted more than one

offending video, Plaintiff would report that username more than once in a single notice to

myVidster.

        12.     Of the allegedly offending usernames that Plaintiff provided, only five of those

usernames were submitted to myVidster three times or on three separate occasions.

        13.     There is no evidence that the users at issue were Original Posters of any of

Plaintiff’s content.


                                                  3
     Case: 1:17-cv-01171 Document #: 53 Filed: 12/14/18 Page 4 of 8 PageID #:277




        14.     There is no evidence that myVidster failed to disable the accounts of the users at

issue because no evidence shows that these accounts remained active after being reported to

myVidster.

        15.     A myVidster user’s account name shows up as “Unknown” if that user’s account

has been deleted by the user or disabled by myVidster pursuant to one of Plaintiff’s DMCA

takedown notices.

        16.     There is no evidence that myVidster failed to remove allegedly infringing Flava

videos that were posted by Unknown Original Posters.

        17.     The only evidence in Plaintiff’s production that shows an “Unknown” username

shows the Unknown username linking to a video. This video’s Original Poster was not an

Unknown user.

        18.     There is no evidence that myVidster breached Paragraph 2 of the Settlement

Agreement.

        19.     Paragraph 4 of the Settlement Agreement provides:

               [Paragraph 4] Do Not Post List. Within thirty (30) days of the
        Effective Date, Defendants will install a “Do Not Post” list on
        myVidster.com that directs myVidster users not to post links to certain
        production    companies    or studios,    including   Flava     Works.

        (Compl. Exhibit A at ¶ 4.)

        20.     There is no evidence that myVidster waited approximately three months after the

Effective Date of the Settlement Agreement to add Flava to its “Do Not Post” list.

        21.     Plaintiff produced purported screenshots of myVidster’s website, but none show a

“Do Not Post” list, Plaintiff’s absence from that list, or the date at which Plaintiff was allegedly

added to that list.




                                                 4
    Case: 1:17-cv-01171 Document #: 53 Filed: 12/14/18 Page 5 of 8 PageID #:277




       22.     Plaintiff produced no correspondence between the parties other than Plaintiff’s

DMCA notices, and thus no correspondence that even suggests myVidster failed to add Plaintiff

to its “Do Not Post” list until three months after the Settlement Agreement was signed.

       23.     Paragraph 6 of the Settlement Agreement provides:

              [Paragraph 6] Flava Works Advertisements. Defendants will include for
       a term of three (3) years commencing within thirty (30) days of the Effective
       Date a Flava Works banner on the adult home page of the myVidster.com
       website in the top right corner of the page under the “Create your own Video
       Collection” heading. This Flava Works banner shall be designed by Plaintiff,
       and submitted through I-frame banner code such that Plaintiff shall maintain
       control of the Flava Works banner and may update it as often as Plaintiff
       desires; provided that, Defendants retain a right of reasonable refusal for banner
       advertisements that are disparaging or defamatory, violate Defendants’ Terms
       of Service, violate any law, or are otherwise detrimental to Defendants’
       website.

       (Compl. Exhibit A at ¶6.)

       24.     There is no evidence that myVidster failed to add a Flava banner to myVidster’s

adult home page until a year after the Effective Date of the Settlement Agreement.

       25.     Plaintiff did not produce a single screenshot of myVidster’s adult home page with

or without the Flava banner.

       26.     Plaintiff produced no correspondence that shows Plaintiff objecting to the alleged

absence of a Flava banner on myVidster’s adult home page.

       27.     There is no evidence that myVidster failed to include the Flava banner on its adult

home page within thirty days of the Settlement Agreement’s Effective Date.

       28.     There is no evidence that myVidster reduced the size of its ad space on its main

page after the parties executed the Settlement Agreement.

       29.     Plaintiff failed to produce any screenshots showing myVidster’s adult home page

or the ad sizes in question.



                                                5
    Case: 1:17-cv-01171 Document #: 53 Filed: 12/14/18 Page 6 of 8 PageID #:277




       30.     There is no evidence that Plaintiff reached out to myVidster concerning the size of

its ad space on its adult home page or that myVidster thereafter refused to change the size of its ad

space on its adult home page.

       31.     There is no evidence that the myVidster’s Pro users do not encounter the Flava

banner on the adult home page of the myVidster.com website in the top right corner of the page.

       32.     There is no evidence to suggest that the parties could not have contemplated that

myVidster would offer users the option to avoid ads in exchange for a higher premium.

       33.     Paragraph 7 of the Settlement Agreement provides:

               [Paragraph 7] Flava Works Banners. Defendants will, within thirty (30)
       days of the Effective Date, use the keywords listed in Schedule A to identify Flava
       Works videos by searching only the title and description of videos on the
       myVidster.com website, and will include a banner advertisement designed by
       Plaintiff beneath each such identified video. This banner advertisement is subject
       to Defendants’ approval, which shall not be withheld except for banner
       advertisements that are disparaging or defamatory, violate Defendants’ Terms of
       Service, violate any law, or are otherwise detrimental to Defendants’ website.
       Plaintiff may supplement this list of keywords a total of four (4) times per year,
       provided that Defendants retain a right of reasonable refusal in deciding whether
       to adopt such additional, supplemental keywords in the event a proposed keyword
       is overly-broad or likely to create a large number of false positive hits. In the
       event that Defendants invoke their reasonable right of refusal based on their belief
       that a particular keyword is not proprietary to or uniquely associated with
       Plaintiff, Plaintiff may provide proof of ownership thereof. If Plaintiff provides
       suitable proof of ownership of a particular keyword, Defendants shall withdraw
       their refusal. In the event that Plaintiff cannot establish proof of ownership of a
       particular keyword, Defendants will have no obligation to use that term in
       identifying Flava Works videos and need not include a banner advertisement
       beneath videos relating to that keyword. Plaintiff hereby represents and warrants
       that all model and actor names included in Schedule A as keywords are
       proprietary to Plaintiff or otherwise refer to models and/or actors who work
       exclusively for Plaintiff.

       (Compl. Exhibit A at ¶ 7.)

       34.     Plaintiff produced purported screenshots of videos that have banners appearing

below the video. Of these 193 videos, only 47 of them contain Plaintiff’s keywords, and 41 have

“Flava Works” banners below the video.


                                                 6
    Case: 1:17-cv-01171 Document #: 53 Filed: 12/14/18 Page 7 of 8 PageID #:277




       35.     While myVidster’s keyword matching tool is largely accurate and enables

Plaintiff’s banners to display below videos that include Plaintiff’s keywords, the tool depends on

accurate inputs. When a user misspells, miss-types, or fails to include the full keyword(s), the tool

may not recognize the word as a keyword and Plaintiff’s banner may fail to display.

                          Plaintiff Has Shown No Evidence of Damages

       36.     Plaintiff made no disclosure of damages in its initial disclosures as Plaintiff never

served initial disclosures.

       37.     There is no evidence that Plaintiff has suffered damage to its reputation, goodwill,

or business.

       38.     Plaintiff has not produced any documents bearing on sales or revenue.

       39.     There is no evidence that Plaintiff has suffered a loss of revenue.




 Dated: December 14, 2018                        Respectfully submitted,


                                                 ___/s/Andrew S. Fraker______________
                                                 One of the Attorneys for Defendants

                                                 Gregory J. Leighton
                                                 Andrew S. Fraker
                                                 Kara C. Smith
                                                 NEAL, GERBER & EISENBERG LLP
                                                 Two North LaSalle Street, Suite 1700
                                                 Chicago, IL 60602-3801
                                                 (312) 269-8000
                                                 gleighton@nge.com
                                                 afraker@nge.com
                                                 ksmith@nge.com




                                                 7
     Case: 1:17-cv-01171 Document #: 53 Filed: 12/14/18 Page 8 of 8 PageID #:277




                             CERTIFICATE OF SERVICE

             I, Andrew S. Fraker, an attorney, state that I served a copy of the foregoing

Defendants’ Rule 56 Statement of Undisputed Material Facts upon:


                   Adam S. Tracy
                   The Tracy Firm Ltd.
                   141 W. Jackson Blvd.
                   Chicago, Illinois 60604



by the ECF system on December 14, 2018.



                                                       /s/    Andrew S. Fraker
                                                              Andrew S. Fraker




28683719.2




                                             8
